DENISE PAJOTTE, IN TI-IE

P]a.intiff, C]RCUIT COURT

vs. ‘ ' FOR .

LYNETTE PAJOTTE, ` PRINCE GEORGE’S COUNTY
D€f€ndants, : CIVIL NO.:- CAL} 6-40434

 

 

»************»*************s********

MOTION FOR EXTENSION OF TIME TO RESPON]) TO THE DEFENDANT’S

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NOW COMES, the Plaintiff Denise Pajotte, by 'and through her undersigned
Counsel, and pwsuant to Maryland Rules, Rule, hereby files this Motion for Extension of
Time to Respond to the Defendant’s Motion for Summary Judgment and for the following

reasons state:

1. Defendant Lynette Pajotte filed a Motion for Summary Judgment on
Novernber 151 201 7.

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2. The qndersigned fequests an extension of time to respond to the Defendant’s

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Motion for Summary Judgment.

3. Du¢ to `ihe mmgiving Hoiiday the mainan has been our of town and

unable to execute an affidavit Further, two other witnesses live out of town and the
undersigned is secl_tring an aHidavit froln those witnesses 'lh_e Response to t.h_e Motion is4

du`e on Monday, December 4, 2017, which includes the three days for mailing.~ »All

affidavits are expected to be in the possession of the undersigned by Fliday, December 8,
2017.` Thtls the Plaintiff` is requesting an extension until Friday, December 8, 2017 to file

the Response to the PlaintiH’s Motion for Summary Judgment. ~

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4. Further, the undersigned was briefly delayed in production of work in her

office due to an unexpected illness of her father in law who is now stable. Additionally, the

undersigned had a heavy 'trial schedule during the period of response Though

insurmountable efforts were made to respond timely, the task was not completed and the
affidavits were unattainable due to the reasons stated in herein. The undersigned intended
to file a timely response to the Motion but determine that due to the factors stated herein, it
would not produce an adequate response, especially due to the atiidavits.

5. Leave is necessary as the deadline for the Motion excluding the three days for
mailing is November 30, 2017, one day before the filing of this Motion for Leave.

6. For the grounds stated herein, the.PlaintiH` moves this Court to allow an
extension of time until Friday, December 8, 2017 to tile a Response to the Defendant’s
Motion to Dismiss.

7. ihe Defendants would not be prejudiced by the granting of this Motion. The
only prejudiced party would be the Plaintl‘lic if the Court denies the relief sought

8. Judicial economy will be'iiirtheréd. id

19. 'Ihe undersigned did make an attempt to obtain the consent of the parties
before the filing of this Motion. .No response was received at the time of filing except for
attorney Jim Carbine, who has given his consent on all motions filed by the Plaintiff. '

-wHEREFoRE, the Defendam prays that this Honorabie court win anew an

extension of time to respond to the Defendant’s Motion for Summary Judgment.

Date:-De_cember 1',~ 2017-. '

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Respectfully Submitted,

 

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Attorney for the Plaintiff

d/essie Lyo awfordgésquire

 

DENISE PAJO'I'I`E,

Plainn`ff,
vs.
LYNE'I'I`E PAJOT'I`E,

Defendants,

 

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ervin No.: cAL16-4o434 .

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 15t day of December, 2017, a copy of the

foregoing Motion for Extension of Tirne to Respond to the Defendant’s Motioo for

parties:

Samantha Granderson, Esquire
Bacon, Thornton, & Palmer, LLP
6411 lvy Lane, Suite 500
Greenbelt,`lvi]) 20770 t =
Attorney for the Defendants
Lynette Pajotte and Estate of
Tyson Paj otte

Jirn Carbine, Esquire

J ames E. Carbine, P.C.

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Attomey' for Reliastar Insurance

Gail L. Westover

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Eversheds Sutherland

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- Summary Judgment was'mailed via first class mail, postage prepaid§ to the following

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Washington Metropolitan Area Transit Authority
Resident Agent: Patricia Lee

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Washington, D.C. 20001 _

('No Attomey Appearance Entered as Yet)

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Jessie L a ord, Esquire
Attorney for the laintiff

